                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas, et al.

                                                                               PLAINTIFFS


 v.                                  NO. 5:23-CV-05086-TLB

 CRAWFORD COUNTY, ARKANSAS, et. al


                                                                               DEFENDANTS


        PLAINTIFF PEARL’S BOOKS LLC’s RESPONSES TO INTERROGATORIES
      AND REQUESTS FOR PRODUCTION OF DOCUMENTS PROPOUNDED BY
                  PROSECUTING ATTORNEY DEFENDANTS


        Pursuant to Federal Rules of Civil Procedure 26 and 33 and the Local Rules of the United

States District Court for the Western District of Arkansas, Plaintiff Pearl’s Books LLC (“Pearl’s

Books”) by and through its undersigned counsel, hereby objects and responds to Plaintiff’s First

Set of Interrogatories and Requests for Production to Pearl’s Books as follows:

                                   GENERAL STATEMENT

        These responses are made solely for the purpose of this action, and are made without

waiving: (a) the right to object, on the grounds of competency, proprietary, admissibility, privilege,

relevance and/or materiality, or any other proper grounds, to the use of these responses for any

purpose in whole or in part, in any subsequent proceeding in this action or any other action; (b)

the right to object on any and all grounds, at any time, to other interrogatories or requests for



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        15.     Pearl’s Books’ Specific Objections and Responses to the Requests are made subject

to and without waiving, the foregoing General Objections, which are incorporated by reference

into each of the below Responses.

      SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES AND
                      REQUESTS FOR PRODUCTION



INTERROGATORY NO. 1: Identify 20 items in your collection that you believe are subject to

regulation under Section 1 of Act 372 of 2023.

RESPONSE: Pearl’s Books objects to Interrogatory No. 1 as confusing, vague, and unduly

burdensome because it requires Pearl’s Books to draw legal conclusions about the extent to

which materials it sells are subject to regulation under Section 1 of Act 372, a law that Pearl’s

Books alleges is unconstitutionally vague. Pearl’s Books also objects that its ability to identify

books its sells that are subject to Act 372 would be greatly enhanced if it had the benefit of the

Prosecutor Defendants’ response to Plaintiffs’ first set of discovery requests, which should

clarify, among other things, the Prosecutor Defendants’ views on the applicability of Act 372 to

a list of frequently challenged books. Understanding how the Prosecutor Defendants, who are

tasked with interpreting and enforcing Act 372, understand that law will help Pearl’s Books more

accurately determine which books it sells are likely to trigger a prosecution under Section 1 of

Act 372, if they are made generally available to library patrons, regardless of age.

Without waiving these objections, Pearl’s Books provides the following list of books, which

meet the definition of “materials” under Act 327 and are in or have recently been in Pearl’s

Books’s collection. In providing this list of books to which Act 372 Section may apply, Pearl’s

Books chose books which may be deemed by the prosecutors to be harmful to minors 8 years




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old, as required under Shipley, Inc. v. Long, 359 Ark. 208, 195 S.W.3d 911 (Ark. 2004), although

they are, in Pearl’s Books’ view, at least constitutionally protected as to older minors and adults.

               A Court of Mist and Fury by Maas, Sarah J.

               All Boys Aren’t Blue by Johnson, George M.

               Beloved by Morrison, Toni

               Bridgerton series by Quinn, Julia

               Call Me By Your Name by Aciman, Andre

               Gone with the Wind by Mitchell, Margaret

               It Ends With Us by Hoover, Colleen

               Looking for Alaska by Green, John

               Speak by Anderson, Laurie Halse

               The Absolutely True Diary of a Part-Time Indian by Alexie, Sherman

               The Bluest Eye, by Morrison, Toni

               The Catcher in the Rye by Salinger, J. D.

               The Color Purple by Walker, Alice

               The Handmaid's Tale by Atwood, Margaret

               The Perks of Being a Wallflower by Chbosky, Stephen

               To Kill a Mockingbird, by Lee, Harper

               Ulysses by Joyce, James




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INTERROGATORY NO. 2: For each item identified in response to Interrogatory No. 1,

identify the chapter numbers, timestamps, or other specific indicator that you believe make the

item subject to Section 1.

RESPONSE: Pearl’s Books objects to Interrogatory No. 1 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. Pearl’s Books further objects to Interrogatory

No. 4 as confusingly worded, vague, and unduly burdensome because it requires Pearl’s Books

to draw legal conclusions about the extent to which items it sells that are subject to regulation

under Section 1 of Act 372, a law that Pearl’s Books alleges is unconstitutionally vague.

Moreover, determining if an item is “harmful to minors” – and, thus, is subject to Act 372’s

restrictions on its availability – requires that the item be “taken as a whole,” Ark. Code Ann. 5-

68-501(2); Miller v. California, 413 U.S. 15, 24 (1973), and considered in the context of the age

and maturity of the specific minor to whom the material is made available, see Ginsberg v. New

York, 390 U.S. 629, 631-32 (1968). Prelim. Inj. Op. (Doc. 53) at 27 (“Act 372’s definition of

‘harmful to minors’ precisely tracks the Supreme Court-approved definitions from Ginsberg and

Miller”).

Thus, it is not possible to identify which portions of the books Pearl’s Books has identified in its

answer to Interrogatory No. 2 might cause one of the Prosecutor Defendants to initiate a

prosecution.

Accordingly, without waiving any objections and for the reasons stated above, Pearl’s Books

declines to identify specific chapter numbers, timestamps, or other specific indicators that would

make the books identified above subject to Section 1 of Act 372.




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                                                  Respectfully submitted


                                                  /s/ Michael A. Bamberger

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                                                  Attorneys for Pearl’s Books, LLC, Pearl’s
                                                  Books Community Bookstore LLC, American
                                                  Booksellers Association, Association of
                                                  American Publishers, Inc., Authors Guild,
                                                  Inc. Comic Book Legal Defense Fund, and
                                                  Freedom to Read Foundation



                               CERTIFICATE OF SERVICE

       I, Rebecca Hughes Parker, certify that a copy of the foregoing pleading has been served
via email to the counsel of record in this case on March 19, 2024.




                                           /s/ Rebecca Hughes Parker
                                           Rebecca Hughes Parker




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